                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             CASE NO. 8:06CR228
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )            TENTATIVE FINDINGS
                                               )
SERGIO TOVAR-ARREDONDO,                        )
                                               )
              Defendant.                       )


       The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant‘s motion to consider a sentence at the low end of the sentencing guideline

range, i.e., 12 months (Filing No. 26). Neither party has objected to the PSR. See Order

on Sentencing Schedule, ¶ 6. The Court advises the parties that these Tentative Findings

are issued with the understanding that, pursuant to United States v. Booker, 543 U.S. 220

(2005), the sentencing guidelines are advisory.

       The Defendant requests a sentence at the low end of the guideline range, which

defense counsel represents is 12 months. Counsel’s reasoning is that one offense led to

both a 4-level enhancement pursuant to U.S.S.G. § 2L1.2(b)(1)(D) and a 1-point increase

in his criminal history score that in turn led to a higher criminal history category. The Court

points out that the sentencing guideline range is 8-14 months; therefore, a request for a

12-month sentence is a request for a mid-range sentence. Therefore, the Court is

uncertain as to the Defendant’s specific request.        The motion will be addressed at

sentencing.
       IT IS ORDERED:

       1.     The Defendant’s motion for a sentence at the low end of the sentencing

guideline range (Filing No. 26) will be addressed at sentencing;

       2.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 3rd day of January, 2007.

                                                   BY THE COURT:

                                                   s/Laurie Smith Camp
                                                   United States District Judge




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